          Case 1:21-cr-00028-APM Document 360 Filed 08/23/21 Page 1 of 6




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

_________________________________________
                                          )
UNITED STATES OF AMERICA,                 )
                                          )
            v.                            )
                                          )
JOSHUA A. JAMES,                          )
                                          )                         Criminal No. 21-28-12 (APM)
            Defendant.                    )
                                          )
PRESS COALITION,                          )
                                          )
            Petitioner.                   )
_________________________________________ )

                                                  ORDER

        Having considered the parties’ submissions, 1 the court grants Petitioner Press Coalition’s

Application for Access to Video Exhibits, ECF No. 297 [hereinafter Pet’r’s Appl.].

        First, the evidence at issue—three video exhibits that the government submitted in support

of its Motion to Reopen Defendant Joshua James’s Detention Hearing, ECF No. 163 [hereinafter

Mot. to Reopen]—constitute “judicial records” subject to the common law right of access to the

records of judicial proceedings. See League of Women Voters of U.S. v. Newby, 963 F.3d 130, 136

(D.C. Cir. 2020) (stating “that every part of every brief filed to influence a judicial decision

qualifies as a ‘judicial record’”). The videos so qualify even though the court’s ultimate decision

denying the government’s request to reopen did not rest on the contents of the videos themselves.

See id. (“The fact that a court ultimately determines it need not reach a briefed issue hardly means




1
  The court reviewed: (1) the Press Coalition’s Application for Access to Video Exhibits, ECF No. 297; (2) the
government’s Response to Application for Access to Video Exhibits, ECF No. 300; (3) Defendant Joshua James’s
Motion to Seal Video Exhibit and Opposing Petitioner Press Coalition’s Application for Access to Video Exhibits,
ECF No. 302 [hereinafter Def.’s Opp’n]; and (4) the Reply Memorandum in Further Support of the Press Coalition’s
Application for Access to Video Exhibits, ECF No. 306 [hereinafter Pet’r’s Reply].
         Case 1:21-cr-00028-APM Document 360 Filed 08/23/21 Page 2 of 6




the issue played no role in the ‘decisionmaking process.’”). Nor does the court find that the limited

exception for “bad faith,” see id., applies here. See Def.’s Opp’n at 5 (citing League of Women

Voters, 963 F.3d at 136). The government may not have addressed in its motion whether it knew

of the video exhibits at the time of Defendant James’s initial detention hearing, an evidentiary

prerequisite for reopening under 18 U.S.C. § 3142(f)(2)(B), see Mot. to Reopen, but the court does

not view that oversight as an effort to gain an unfair strategic advantage, to intentionally prejudice

the defendant, or to hamper enforcement of a court order. Finally, Defendant James complains

that the rule articulated in League of Women Voters is “flaw[ed]” because it invites “abuse,” “since

arguably every part of every pleading and every exhibit to every pleading is intended to influence

the court,” and because the rule is “at odds with the plentitude of prior cases in the D.C. Circuit

holding that not all documents filed with courts are judicial records and that what makes a

document a judicial record is the role it plays in the adjudicatory process.” Def.’s Opp’n at 4–5

(footnotes omitted) (emphasis omitted). But however “flaw[ed]” or “at odds” the test announced

in League of Women Voters may be, this court is not at liberty to ignore it.

        Second, bearing in mind the “strong presumption in favor of public access to judicial

proceedings,” United States v. Hubbard, 650 F.2d 293, 317 (D.C. Cir. 1980), the relevant factors

the court must consider under Hubbard favor the video exhibits’ release.

       With respect to the first factor—the need for public access to the documents at issue, see

id. at 317–18, such “need” favors release but perhaps not as heavily as in other cases involving the

events of January 6. The Press Coalition cites, for example, United States v. Jackson, No. 21-mj-

115, 2021 WL 1026127 (D.D.C. Mar. 17, 2021), and In re Klein, No. 21-mc-78 (JDB), 2021 WL

2711706 (D.D.C. June 30, 2021), for the proposition that the “need” for disclosure is great in this

case because it would allow the public to see for itself the events of January 6. See Pet’r’s Appl.



                                                  2
         Case 1:21-cr-00028-APM Document 360 Filed 08/23/21 Page 3 of 6




at 6; Pet’r’s Reply. But both Jackson and Klein involved video exhibits that the court expressly

relied upon in making a detention determination. See Jackson, 2021 WL 1026127, at *5 (observing

that the “exhibits played a significant and meaningful role in the adjudicatory process,” including

“extensive discussion” in the government’s briefing, showing of the exhibits before the magistrate

judge, and a “close review” of the exhibits by the court); Klein, 2021 WL 2711706, at *5 (stating

that the court “‘specifically referred to’ some of the videos,” which the government had played

during the detention hearing, in its release decision). Here, by contrast, the video exhibits were

never played at a public hearing—the court did not hold one—and the court did not rely on the

exhibits’ contents to deny reopening, Order, ECF No. 183. See Hubbard, 650 F.2d at 317

(observing that the public’s need for access is diminished where the documents’ contents were not

“discussed or . . . relied upon by the trial judge in his decision”). Still, other elements support the

public need. For one, the government described the videos’ contents in detail, including Defendant

James’s own words, and pasted multiple still images of the videos in its motion. See Mot. to

Reopen at 3–7. “[T]he fact that the exhibits and attachments were referenced in the public filings

of the parties may create a public need for them.” EEOC v. Nat’l Child.’s Ctr., Inc., 98 F.3d 1406,

1410–11 (D.C. Cir. 1996). Additionally, the public’s need is supported by the fact that the videos

depict “issues of major public importance related to the conduct not only of the defendant[] but

also of government law enforcement agents.” In re Nat’l Broad. Co., 653 F.2d 609, 620–21 (D.C.

Cir. 1981). Thus, although the videos’ contents in this case were not central to the court’s decision,

these public-facing attributes of the videos favor their release.

       The second factor—previous public access to the video exhibits, see Hubbard, 650 F.2d

at 318—favors release, but again not to the same degree as in other January 6 cases. The video

exhibits were never shown in open court, and although the government delivered them to the



                                                  3
         Case 1:21-cr-00028-APM Document 360 Filed 08/23/21 Page 4 of 6




clerk’s office, the clerk’s office did not keep a copy to make them available to the public. See

Def.’s Opp’n at 7–10. On the other hand, as noted, the government’s motion describes the videos’

contents in detail and includes still images from the videos. This limited prior public access tips

in favor of full release of the videos. See In re Nat’l Broad. Co., 635 F.2d 945, 952 (2d Cir. 1980)

(noting, in Abscam public corruption criminal prosecutions, that “[t]hough the transcripts of the

videotapes [showing bribe payments to public officials] have already provided the public with an

opportunity to know what words were spoken, there remains a legitimate and important interest in

affording members of the public their own opportunity to see and hear evidence that records the

activities of a Member of Congress and local elected officials, as well as agents of the Federal

Bureau of Investigation”).

       The third factor—the fact of objection and identity of those objecting to disclosure, see

Hubbard, 650 F.2d at 319—again weighs in favor of disclosure. Only Defendant James objects

to disclosure, and he did so only in response to the Press Coalition’s Application. He did not, for

example, ask to seal the exhibits immediately after the court ruled in his favor. Moreover, this

case is unlike Hubbard, in which the court observed that there is “broader protection” when a

third-party’s property or privacy rights are at issue. See id. at 319–20. This case involves only the

claimed privacy interest of a party.

       The strength of the generalized property and privacy interests asserted—the fourth factor—

also weighs in favor of disclosure. See id. at 320. Defendant asserts a privacy interest because

one of the videos was seized from his mobile phone. See Def.’s Opp’n at 8. But that privacy

interest is weak because the video clip in question depicts his public conduct, and the government

obtained the clip through a subpoena that Defendant has not asserted was unlawful or otherwise




                                                 4
         Case 1:21-cr-00028-APM Document 360 Filed 08/23/21 Page 5 of 6




improper. Cf. Hubbard, 650 F.2d at 320 (observing that the records at issue “were seized from

non-public areas”).

       The fifth factor—the possibility of prejudice—is neutral here. See id. at 321–22. “[T]he

possibility of prejudice to [a] defendant[] by sensational disclosure is a factor which may weigh in

favor of denying immediate public access.” Id. But the substantiality of such prejudice is informed

by multiple factors, including the extent of prior public disclosure. See id. at 322. Admittedly

here, prejudice to Defendant James inheres in the public disclosure of the video exhibits, but

prejudice from release is mitigated by the government’s prior detailed description of the exhibits’

contents and publication of still images. Although Defendant complains that the government’s

narrative captures some but not all of the conduct that a jury will have to consider, see Def.’s

Opp’n at 8–9, he does not contend that the narrative is embellished or materially inaccurate. He

also does not rebut the notion that a rigorous voir dire would root out potential prejudice. See Nat’l

Broad. Co., 653 F.2d at 617 (observing “to the extent that some members of the potential jury pool

are so affected by the broadcasting of the tapes that they are unqualified to sit under these

standards, voir dire has long been recognized as an effective method of rooting out such bias,

especially when conducted in a careful and thoroughgoing manner” (footnote omitted)). The

prospect of prejudice to Defendant James therefore does not overcome the presumption in favor

of public access.

       Finally, the sixth factor—the purpose for which the video exhibits were introduced, see

Hubbard, 650 F.2d at 321—also favors release. The government submitted the exhibits as part of

a public filing to convince the court to reconsider Defendant’s pretrial release—a permissible

statutory request. That valid purpose—and the court repeats it finds no bad faith on the part of the




                                                  5
         Case 1:21-cr-00028-APM Document 360 Filed 08/23/21 Page 6 of 6




government—weighs in favor of disclosure. Cf. id. (finding this factor diminished where the

records in question were introduced to challenge whether a search and seizure was overly broad).

       For the foregoing reasons, the Press Coalition’s Application is granted, and Defendant

James’s Motion to Seal Video Exhibit is denied. The government shall make available to the Press

Coalition the three video exhibits that accompanied its Motion to Reopen Defendant James’s

Detention Hearing, ECF No. 163, consistent with the procedures set forth in Standing Order 21-28.

The Press Coalition is granted permission to record, copy, download, retransmit, and otherwise

further publish these video exhibits.




Dated: August 23, 2021                                     Amit P. Mehta
                                                    United States District Court Judge




                                               6
